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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                         Harrisonburg Division



   CONSUMER FINANCIAL PROTECTION
   BUREAU, et al.,

        Plaintiffs,

   v.                                                       Case No.: 5:21-cv-00016-EKD-JCH

   NEXUS SERVICES, INC., et al.,

        Defendants.



   AMENDED STIPULATION FOR ORDER ESTABLISHING AUTHENTICITY AND
  FOUNDATION OF DOCUMENTS PRODUCED BY THE ENTITY DEFENDANTS AND
    ESTABLISHING AS FACT THE AMOUNT OF REVENUE THAT THE ENTITY
               DEFENDANTS RECEIVED FROM CONSUMERS


           1.         Purpose: This Stipulation is entered into by and between the Consumer Financial

  Protection Bureau, the Commonwealth of Massachusetts, the People of the State of New York by

  Letitia James, Attorney General of the State of New York, and the Commonwealth of Virginia
  (together with Massachusetts and New York, the States) (collectively, Plaintiffs), and Nexus

  Services, Inc., Libre by Nexus, Inc., Micheal Donovan, Richard Moore, and Evan Ajin

  (collectively, Defendants). Plaintiffs and Defendants (collectively, the parties) enter this

  Stipulation for the purposes of minimizing disputed issues and conserving hearing time by

  stipulating to certain evidentiary and factual issues regarding documents and information

  produced in this litigation by Nexus Services, Inc. and Libre by Nexus, Inc. (the Entity

  Defendants) and documents and information provided by Defendant Libre by Nexus, Inc. to the

  States in connection with Vasquez et al. v. Libre by Nexus, Inc., 4:17-cv-00755 (N.D. Cal.).
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         2.      Applicability: Except as otherwise stated, this Stipulation applies to (1) the

  records from Entity Defendants’ Lightspeed database that Entity Defendants produced on July

  29, 2022; (2) the agreements between Defendant Libre by Nexus, Inc. and consumers identified

  in ¶ 4 of Plaintiffs’ Final Witness and Exhibit Lists (ECF No. 230), which Defendants produced

  to Plaintiffs in discovery, bates labeled CFPB_LIBRE-00001368-89 and CFPB_LIBRE-

  00000363-73, filed as Exhibits 1 and 2 to the Declaration of Franklin Romeo in support of

  Plaintiffs’ opening brief (ECF No. 216-1); and (3) the notice Defendant Libre by Nexus, Inc.

  mailed to the States pursuant to § 1715(b)(7) of the Class Action Fairness Act (CAFA) of 2005,

  in connection with the class action settlement in Vasquez et al. v. Libre by Nexus, Inc., 4:17-cv-

  00755 (N.D. Cal.) (Exhibit 4 to Romeo Decl., ECF No. 216-1).

         3.      Authenticity: All documents to which this Stipulation applies are stipulated to be

  authentic and the requirement for identification or authentication of all documents is satisfied

  under Rule 901 of the Federal Rules of Evidence. The parties also stipulate to the use of excerpts

  from the Lightspeed database and the redaction of the names of Defendants’ customers to limit

  inputting into the record information that may implicate those individuals’ immigration statuses.

         4.      Hearsay: To the extent that any documents to which this Stipulation applies are

  offered into evidence to prove the truth of the matters asserted in them, the parties stipulate that

  the documents were made by Entity Defendants and thus their contents are not hearsay under

  Rule 801(d)(2) of the Federal Rules of Evidence if offered by Plaintiffs. Additionally, the parties

  stipulate that the documents fall within the exception to the hearsay rule set forth in Rule 803(6)

  of the Federal Rules of Evidence.

         5.      Originals: Duplicates of the documents to which this Stipulation applies are
  admissible to the same extent as their originals under Rule 1003 of the Federal Rules of

  Evidence.

         6.      Entity Defendants’ Total Revenue: The parties stipulate that after accounting

  for refunds that the Entity Defendants already provided to consumers, the Entity Defendants

  received $230,996,970.84 from consumers between December 2013 to June 2022, as reflected in
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  the Entity Defendants Supplemental Responses to the Commonwealth of Virginia’s First

  Interrogatories and the Lightspeed records produced by Defendants in this litigation.


         The parties have entered into this stipulation in good faith, and not for reasons of delay or
  any other improper purpose.


  Dated: August 15, 2023            Respectfully submitted,

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